       Case 3:20-cv-05949-VC         Document 506        Filed 06/30/25     Page 1 of 2




                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA


  In re VAXART, INC. SECURITIES                   Case No. 20-cv-05949-VC
  LITIGATION

                                                  ORDER




       The Armistice defendants should come to the July 2 hearing prepared to discuss the

following aspects of the documents they produced for in camera review:

          •   The discussions among Armistice’s in-house and outside counsel about the

              apparent timeline of Boyd’s deletion. See Vol. I docs. 41 [Arm-

              Himmelburg_0037513], 65 [Armistice-TPLog00000392].

          •   The relationship between that timeline and the timelines with respect to
              Armistice’s efforts to engage Contact and collect and produce text messages (see,

              e.g., Vol. I docs. 34 [Arm-Himmelberg_0037323], 65), and with respect to

              Armistice’s rolling productions to the U.S. government.

          •   Whether and to what extent Armistice has waived privilege over the facts and

              documents referenced in the previous two bullets (by putting those subjects at

              issue or otherwise).

          •   The apparent absence from the production of any March 2021 communications

              between Armistice’s lawyers and the government, and of any corresponding
              internal communications related to communications with the government. See,
        Case 3:20-cv-05949-VC          Document 506        Filed 06/30/25      Page 2 of 2




               e.g., Vol. II docs. 273–74 [Arm_VC_1691–93]; 179–82 [Arm_VC_1376–448].

               For instance, were these communications produced elsewhere and thus left out of

               the production for in camera review? Or were there no such communications in

               the first place?

       Both the Armistice defendants and the plaintiffs should come prepared to discuss the

following question:

           •   If the Court concludes that Boyd intentionally deleted his texts but Maher did not

               (but that the elements of Rule 37(e)(1) are met with respect to Maher’s deletion),

               and that the proper remedy with respect to Boyd is a permissive inference, what

               remedy can be awarded with respect to Maher? For instance, can the jury be told

               that they may consider Maher’s deletion along with all the other evidence

               presented in the case (but not specifically told that they can use it to draw adverse

               inferences against him), as contemplated by the advisory committee notes to Rule

               37?

       Finally, the plaintiffs are ordered to file by Tuesday, July 1, a statement of the costs and

fees they incurred in litigating the sanctions motion.

       IT IS SO ORDERED.

Dated: June 30, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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